Case 1:23-cr-00118-AT Document 120-4 Filed 08/04/23 Page 1 of 4




                    EXHIBIT D
Case 1:23-cr-00118-AT Document 120-4 Filed 08/04/23 Page 2 of 4
          Case 1:23-cr-00118-AT Document 120-4 Filed 08/04/23 Page 3 of 4




From:
Sent: Thursday, January 20, 2022 10:10 AM
To:
Cc:

Subject: Re: Guo Wengui‐‐"Remember the Lady May"

Thanks,       Happy to discuss. Phone is probably easiest. Cc’ing       who is also on the TIN
matter.


       On    Jan    20,   2022,     at 10:04    AM,
                                  > wrote:


       Not quite “Remember the Maine,” but you get the idea. More prosaically, Emil
       Bove has a post-employment question relating to Guo Wengui and his yacht.

       Specifically, per a first amended state court complaint Emil sent me, Guo entities,
       secured by personal guarantees from Guo, borrowed $30 million plus from Pacific
       Alliance Asia Opportunity Fund L.P. (“PAX LP”). PAX LP filed the lawsuit in
       NYS Supreme Court in 2017 seeking payment. Defendants, in case any of the
       names mean anything to you, are Kwok Ho Wan, a/k/a Kwok Ho, a/k/a Gwo, Wen
       Gui, and further variations on that name; and Genever Holdings LLC and Genever
       Holdings Corporation.

       Emil advises that there was some kind of restraining order on Guo’s yacht (the Lady
       May, I assume), but the yacht has somehow left the jurisdiction and is no longer
       available to potentially help satisfy a judgment against Guo. The complaint also
       takes aim at an apartment Guo entities purchased in the Sherry-Netherland Hotel in
       NYC.

       Emil is inquiring whether we see any post-employment restriction on him
       representing Guo’s daughter, who is a deposition witness in proceedings relating to
       the question of, what happened to the Lady May. Emil mentioned that when chief
       of TIN he supervised a     investigation involving Guo. Elizabeh, can you tell me
       about that? If any of the info is classified, let me know, and we’ll handle that
                                                2
Case 1:23-cr-00118-AT Document 120-4 Filed 08/04/23 Page 4 of 4
